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                          United States District Court
                                                Western District of Wisconsin
                   UNITED STATES OF AMERICA                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                              (for offenses com m itted on or after N ovem ber 1, 1987)
                                                                                              RE-SENTENCING

                                     V.                                              Case Number:               09-CR-60-BBC-02

                          ANSELMO HERRERA                                   Defendant's Attorney:               Kelly A. W elsh
                             (a/k/a “Memo”)




The defendant, Anselmo Herrera, pleaded guilty to count 1 of the superseding indictment.

Counts 2-5, and 8-12 of the superseding indictment are dismissed on the motion of the United States.




ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                            Date Offense      Count
Title & Section                   Nature of Offense                                                         Concluded       Number(s)
21 U.S.C. § 846                   Conspiracy to Possess with the Intent to Distribute and to                January 8, 2009     1
                                  Distribute Five or More Kilograms of Cocaine,
                                  a Schedule II controlled substance, a Class A felony, in
                                  violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s economic circumstances.




  Defendant's Date of Birth:                  April 21, 1975                                                       April 7, 2011
                                                                                                        Date of Imposition of Judgment
  Defendant's USM No.:                        06902-090

  Defendant's Residence Address:              8495 Klondyke Street                                            /s/ Barbara B. Crabb
                                              Bancroft, WI 54921
                                                                                                                Barbara B. Crabb
  Defendant's Mailing Address:                c/o Bureau of Prisons
                                                                                                                 District Judge

                                                                                                                   April 8, 2011
                                                                                                                  Date Signed:
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                                                     IMPRISONMENT
As to count one of the superseding indictment, it is adjudged that defendant is committed to the custody of the Bureau of
Prisons for a term of 72 months.

In all other respects, the judgment remains as entered on April 21, 2010.

Under § 5G1.3(b), defendant shall receive credit for time already served in connection with the related case in the Circuit Court
for Portage County, W I, no. 09CF16, starting from January 14, 2009.

The probation officer is directed to send U.S. Immigration and Customs Enforcement a copy of this judgment and is to provide
the court a copy of the transmittal letter.




                                                                RETURN

      I have executed this judgment as follow s:




      Defendant delivered on                                             to

at                                     , with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL
                                                              By
                                                                                                    Deputy Marshal
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                                             SUPERVISED RELEASE
The term of imprisonment is to be followed by a five-year term of supervised release with standard conditions.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not commit another federal, state, or local crime.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm, destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Department and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Financial Penalties sheet of this judgment.

Defendant shall comply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and defendant’s history and characteristics, I adopt special conditions of supervision one
through six as set out in the presentence investigation report. Neither party has raised objections to the special conditions.

As special conditions, defendant is to:

1)    Spend the first 30 days of his supervision in a residential reentry center with work release privileges if he is not deported
      and has not been granted prerelease placement in a residential reentry center;

2)    Comply with the rules and regulations of the U.S. Immigration and Customs Enforcement under the United States
      Department of Homeland Security and if deported or excluded from the United States, either voluntarily or involuntarily,
      not reenter the United States without legal permission. If reentry into the United States occurs, defendant shall report to
      the nearest probation office within 72 hours;

3)    Register with local law enforcement agencies and the state attorney general, as directed by the supervising U.S. probation
      officer;

4)    Provide the supervising U.S. probation officer any and all requested financial information, including copies of state and
      federal tax returns;

5)    Submit his person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a reasonable
      time and in a reasonable manner, whenever the probation officer has reasonable suspicion of contraband or of the
      violation of a condition of release; failure to submit to a search may be a ground for revocation; defendant shall warn any
      other residents that the premises he is occupying may be subject to searches pursuant to this condition; and

6)    Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
      substance abuse treatment. Defendant shall submit to drug testing beginning within 15 days of her release and 60 drug
      tests annually thereafter. The probation office may utilize the Administrative Office of the U.S. Courts’ phased collection
      process.
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                                   STANDARD CONDITIONS OF SUPERVISION
    1)    Defendant shall not leave the judicial district without the permission of the court or probation officer;

    2)    Defendant shall report to the probation officer as directed by the court or probation officer and shall submit a
          truthful and complete written report within the first five days of each month;

    3)    Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;

    4)    Defendant shall support his or her dependents and meet other family responsibilities;

    5)    Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
          training, or other acceptable reasons;

    6)    Defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

    7)    Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
          administer any narcotic or other controlled substance, or any paraphernalia related to such substances except as
          prescribed by a physician;

    8)    Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
          administered;

    9)    Defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
          person convicted of a felony unless granted permission to do so by the probation officer;

  10)     Defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view by the probation officer;

  11)     Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;

  12)     Defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
          agency without the permission of the court;

  13)     As directed by the probation officer, defendant shall notify third parties of risks that may be occasioned by
          defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make
          such notifications and to confirm defendant's compliance with such notification requirement.
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                                       CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of payments set forth below.


                              Count     Assessment                   Fine                       Restitution

                                  1     $100.00                      $0.00                      $0.00

                               Total    $100.00                      $0.00                      $0.00



It is adjudged that defendant is to pay a $100 criminal assessment penalty to the Clerk of Court for the W estern District of
W isconsin immediately following sentencing.

Defendant does not have the means to pay a fine under § 5E1.2(c) without impairing his ability to support himself and his minor
child upon release.
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                                          SCHEDULE OF PAYMENTS
Payments shall be applied in the following order:
                                                           (1) assessment;
                                                           (2) restitution;
                                                           (3) fine principal;
                                                           (4) cost of prosecution;
                                                           (5) interest;
                                                           (6) penalties.


The total fine and other monetary penalties shall be due in full immediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgment imposes a period of
imprisonment, payment of monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

In the event of a civil settlement between victim and defendant, defendant must provide evidence of such payments or
settlement to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
